Case 1:OO-CV-00105-L-DLI\/| Document 152 Filed 05/13/03 Page 1 of 2 Page|D #: 12105
‘ " t t

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

THE ESTATE OF YARON UNGAR,
et al

V. C.A. NO. 00-105L

THE PALESTINIAN AUTHORITY,
et al

)
)
)
)
)
)
)
)
)

 

EXHIBIT TO PALESTINIAN DEFENDANTS' MEMORANDUM
IN SUPPORT OF THEIR OBJECTION TO PLAINTIFFS' MOTION FOR
DEFAULT JUDGMENT AND GTHER RELIEF WITH RESPECT TO
DEPOSITIONS NOTICED BY PLAINTIFFS
Defendants, the Palestinian Authority ("PA") and the Palestine Liberation Organization

("PLO"), tile herewith the exhibit t0 their Mernorandurn in Support of Obj ection to Plaintiffs'
Motion for Default Judgnient and Other Relief With Respect to Depositions Notieed by
Plaintiffs. The exhibit is filed pursuant t0 the Court'S Order entered May 5 , 2003 granting

Defendants' Motion to EXceed Page Limit for Exhibits.

   
   

»/,»i ,

Deniing%E. Sherrnan (#1 3

 

Dated: May 13, 2003

 

138)
EDWARDS & ANGELL, LLP
2800 Finaneial Plaza
Providence, Rhode lsland 02903
401-274-9200

401-276-6611 (FAX)

Ramsey Clark
Lawrence W. Schilling
36 East 12th Street
New York, NY 10003
212-475-3232
212-979-1583 (FAX)

Attorneys for Defendants
The Palestinian Authority and
The PLO

 

Case 1:OO-CV-00105-L-DLI\/| Document 152 Filed 05/13/03 Page 2 of 2 Page|D #: 12106
. (, {\ §

CERTIFICATE OF SERVICE

l hereby certify that On the 13th day of May, 2003, l mailed a copy Of the Within EXhibitS
to Mernoranduni in Suppolt Of Palestinian Defendants’ Objection to Plaintiffs' Motion for
Default Judgrnent and Other Relief With Respeet to Depositions Noticed by Plaintiffs to David J.
Strachman, Esq., Mclntyre, Tate, Lynch & Holt, Suite 400, 321 South Main Street, Providence,
RI 02903.

   

 

' 2 ' PRV_574407i1/DSHERMAN

 

